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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


   DALANEA TAYLOR; TAMMY
   HEILMAN; DARLENE DEEGAN;
   and ROBERT A. JONES III,

          Plaintiff,

   v.                                                         CASE NO. 8:21-cv-555-SDM-CPT

   CHRIS NOCCO, in his official
   capacity as Pasco County Sheriff,

          Defendant.
                                                     /


                                                ORDER

          1.     With the following exceptions, the parties must conform to the

   deadlines proposed in the case management report:

                 Joinder of party — September 27, 2021

                 Completion of discovery — December 27, 2021

                 Dispositive motion filing —January 27, 2022

          2.     The parties must adhere to both the pre-trial meeting and pre-trial statement

   requirements of the Local Rules and to the pre-trial disclosure requirements in the Federal

   Rules of Civil Procedure.

          3.     Either a motion to amend a pleading or a motion to continue a hearing, the

   pre-trial conference, or the trial is distinctly disfavored after issuance of this order.

          4.     The parties must serve no more than twenty-five interrogatories,

   including sub-parts.
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         5.     The pre-trial conference will occur before Magistrate Judge Christopher P.

   Tuite in Courtroom 12B, United States Courthouse, 801 North Florida Avenue, Tampa,

   on APRIL 28, 2022 at 9:00 A.M.


                ANY DISPUTE ABOUT DISCOVERY, THE WITNESS LIST,
                OR THE EXHIBIT LIST REQUIRES JUDICIAL
                RESOLUTION AT OR BEFORE THE PRE-TRIAL
                CONFERENCE — NOT AT TRIAL. OTHERWISE, ABSENT
                A STIPULATION BY THE PARTIES, ONLY A WITNESS ON
                THE WITNESS LIST CAN TESTIFY AT TRIAL AND ONLY
                AN EXHIBIT ON THE EXHIBIT LIST IS ADMISSIBLE AT
                TRIAL. THE PARTIES MAY AGREE ON ANY DISCOVERY
                MATTER, BUT — UNLESS ADDRESSED AT THE PRE-
                TRIAL CONFERENCE — EACH PARTY ASSUMES THE
                RISK OF NON-COMPIANCE BY THE OTHER PARTY.

         6.     The lead trial counsel must attend the pre-trial conference.

         7.     A bench trial will occur in Courtroom 15A, United States Courthouse,

   801 North Florida Avenue, Tampa, during the MAY 2022 trial term.

         8.     Unless ordered otherwise and within twenty-one days after the trial transcript

   becomes available, the plaintiff must submit in a single document proposed findings of fact

   that include citations to the transcript, proposed conclusions of law that include citations of

   legal authority, and an exact statement of the relief requested. Within twenty-one days after

   the plaintiff’s submission and subject to the same requirements, the defendant must submit

   responsive findings of fact and conclusions of law. Unless ordered otherwise, neither

   submission can exceed twenty-five pages.

        ORDERED in Tampa, Florida, on May 6, 2021.




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